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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 4:06-CR-020-SPM

KRYSTAL DOZIER,

           Defendant.
__________________________________/

                     ORDER CONTINUING SENTENCING

      THIS CAUSE comes before the Court upon the “Motion to Continue

Sentencing of Defendant, Krystal Dozier” (doc. 114) filed August 2, 2006, in

which Defendant requests a 30-day continuance so that she may be sentenced

on the same date as her co-defendants.

      Finding the request to be reasonable, it is

      ORDERED AND ADJUDGED as follows:

      1.     Defendant’s Motion for Continuance (doc. 114) is hereby granted.

      2.     Sentencing is reset for Monday, September 25, 2006 at 1:30pm at

             the United States Courthouse in Tallahassee, Florida.

      DONE AND ORDERED this tenth day of August, 2006.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
